                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

In re:
ANGELA JANE-HOWEY SIMPSON,                                           CASE NO. 16-21964-dob
              Debtor                                                 CHAPTER 7
                                                                     HON. OPPERMAN
________________________________/


             ANSWER TO MOTION TO DISMISS CASE UNDER 11 USC § 707(b)(3)

       NOW COMES Debtor, ANGELA JANE-HOWEY SIMPSON, by and through her attorney,
Cristie A. VanMassenhove, and answers the motion as follows:


       1.      Admit.
       2.      Admit.
       3.      Admit.
       4.      Admit in part and Denied as untrue in part.
       5.      Admit.
       6.      Admit.
       7.      Admit.
       8.      Admit that Debtor has a domestic support obligation of $1,000.00 per month, but
deny the rest of the allegations in paragraph 8 as untrue. Said obligation will exceed 12 months as
Debtor is currently in arrears. Further, Debtor has substantial student loans that will be coming out
of forbearance and entering repayment. The student loan obligations are not dischargeable and
after the domestic support obligation ends, the funds previously used to pay the domestic support
obligation will be reallocated to pay Debtor’s student loans.
       9.      Admit that Debtor’s current student loan payment is $250.00 per month, but deny
the rest of the allegations in paragraph 9 as untrue. Debtor’s monthly student loan obligations will
substantially increase once all of her loans are out of forbearance and in repayment.
       10.     Admit that at the time of filing Debtor had a second vehicle, but deny the rest of
the allegations in paragraph 10 as untrue. Debtor was married at the time of filing and supported



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her husband; therefore, a second vehicle was not unreasonable nor unnecessary. Debtor no longer
has said obligation.
       11.     Denied as untrue. However, despite a Chapter 7 discharge, Debtor will still have
substantial student loan debt.
       12.     Denied as untrue.


       THEREFORE, The Debtor respectfully requests this Honorable Court DENY the United
States Trustee’s motion.


                                                  Respectfully Submitted,

 Dated: _January 3, 2017___                        /s/Cristie A. VanMassenhove____________
                                                   CRISTIE A. VanMASSENHOVE (P72704)
                                                                             Attorney for Debtor
                                                                    KANE, FUNK & POCH, PC
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________________________________/


                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2017, I served copies of Debtor’s Answer To Motion To
Dismiss Case Under 11 USC § 707(B)(3) on the Clerk of the Court through the Court’s ECF filing
system and as follows:

 Daniel Himmelspach                                trusteehimmelspach@gmail.com,
                                                   dh@trustesolutions.net

 Jill M. Gies
 jill.gies@usdoj.gov                               jill.gies@usdoj.gov




                                                   Respectfully Submitted,

 Dated: _January 3, 2017___                           /s/Cristie A. VanMassenhove____________
                                                      CRISTIE A. VanMASSENHOVE (P72704)
                                                                                Attorney for Debtor
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